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     Attorney for Derrick Stampley
6
7                      IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,          )
                                        ) Cr. No. 10-35 MCE
10           Plaintiff,                 )
                                        ) STIPULATION AND
11      v.                              ) ORDER CONTINUING STATUS
                                        ) CONFERENCE (July 14, 2011
12   DERRICK STAMPLEY,                  ) at 9:00 AM before Judge
                                        ) England)
13                                      )
                                        )
14           Defendants,                )
     ___________________________________)
15
16
         The parties continue to work toward resolution of this case.
17
     However, the parties to this matter needs more time to finalize a
18
     plea agreement.    The parties therefore stipulate that the Status
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     Conference be continued from June 9, 2011 to July 14, 2011 at 9:00
20
     AM and ask that the Court so order.       The parties also stipulate
21
     that time under the Speedy Trial Act be excluded for Counsel
22
     preparation, local code T4 to conclude plea negotiations.
23
     Dated June 7, 2011
24
         /s/ JASON HITT                         /s/ J TONEY
25         Jason Hitt                            J Toney
     Assistant U S Attorney                   Attorney for D. Stampley
26
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28                                        1
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1                              ORDER
2
          Good cause appearing, it is hereby ordered that the status
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     conference be continued to July 14, 2011 at 9:00 AM and that the
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     period from June 7, 2011 to July 14, 2011 be excluded from
5
     calculation under the Speedy Trial Act pursuant to 18 USC Sec.
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     3161 (h)(7)(A) and local code T4.
7
8
     Dated: June 10, 2011
9
10                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
11
                                        UNITED STATES DISTRICT JUDGE
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